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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                         23-[!]
 Case number (If known): _________________________         11
                                                   Chapter _____                                                                  # Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           SMI Group Acquisitions, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                2 ___
                                              ___ 0 – ___
                                                       3 ___
                                                          3 ___
                                                             4 ___
                                                                9 ___
                                                                   0 ___
                                                                      7 ___
                                                                         2
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               17220 Katy Freeway
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              Suite 150
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Houston                    TX        77094
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Harris
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.smi.com/
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        SMI Group Acquisitions, Inc.
              _______________________________________________________                                              23-[!]
                                                                                            Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      # Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          # Partnership (excluding LLP)
                                          # Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                          # Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          # Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          # Railroad (as defined in 11 U.S.C. § 101(44))
                                          # Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          # Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          # Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          # None of the above

                                          B. Check all that apply:

                                          # Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          # Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          # Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___    2 ___
                                                 6 ___ 9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      # Chapter 7
                                          # Chapter 9
                                          # Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                 # The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           # The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          # A plan is being filed with this petition.
                                                          # Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          # The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          # The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          # Chapter 12




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Debtor         SMI Group Acquisitions, Inc.
               _______________________________________________________                                            23-[!]
                                                                                            Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        # No
      filed by or against the debtor
      within the last 8 years?           # Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases            # No
      pending or being filed by a
      business partner or an             # Yes. Debtor _____________________________________________
                                                       See Rider 1                                   Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         # Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         # A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         # No See Rider 2
      possession of any real             # Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  # It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                  # It needs to be physically secured or protected from the weather.
                                                  # It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  # Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                  # No
                                                  # Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor       SMI Group Acquisitions, Inc.
            _______________________________________________________                                                   23-[!]
                                                                                               Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     # Funds will be available for distribution to unsecured creditors.
                                         # After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         # 1-49                             # 1,000-5,000                               # 25,001-50,000
 14. Estimated number of
                                         # 50-99                            # 5,001-10,000                              # 50,001-100,000
     creditors
                                         # 100-199                          # 10,001-25,000                             # More than 100,000
                                         # 200-999

                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 15. Estimated assets
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion

                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 16. Estimated liabilities
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                        12/04/2023
                                            Executed on _________________
                                                        MM / DD / YYYY


                                         " /s/ Paul Garris
                                             _____________________________________________                Paul Garris
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                  Senior Vice President and Chief Financial Officer
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor       SMI Group Acquisitions, Inc.
            _______________________________________________________                                             23-[!]
                                                                                        Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      "     /s/ Paul E. Heath
                                          _____________________________________________            Date        12/04/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Paul E. Heath
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Vinson & Elkins LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                          845 Texas Ave.
                                         _________________________________________________________________________________________________
                                         Number       Street
                                          Houston
                                         ____________________________________________________             Texas
                                                                                                         ____________  77002
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          713-758-3313
                                         ____________________________________                             pheath@velaw.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          09355050                                                        Texas
                                         ______________________________________________________ ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                    Rider 1
      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the
Debtor in the United States Bankruptcy Court for the Southern District of Texas

                         American Specialty Glass, Inc.

                       Container Recycling Alliance, LLC

                                NexCycle, Inc.

                              Ripple Glass, LLC

                          SMI BevCon HoldCo, LLC

                             SMI Equipment, Inc.

                         SMI Group Acquisitions, Inc.

                          SMI Group Holdings, LLC

                       SMI Group Ultimate Holdings, Inc.

                          SMI Nutmeg HoldCo, LLC

                    SMI Reflective Industries HoldCo, LLC

                    SMI Reflective Recycling HoldCo, LLC

                   SMI Reflective Recycling NE HoldCo, LLC

                           SMI Topco Holdings, Inc.

                       Strategic Materials Holding Corp.

                            Strategic Materials, Inc.
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                                              Rider 2
            Real Property or Personal Property That Needs Immediate Attention

Question 12, among other things, asks debtors to identify any property that poses or is alleged to
pose a threat of imminent and identifiable hazard to public health or safety.

SMI Group Acquisitions, Inc. and its affiliated companies that are also filing voluntary chapter 11
bankruptcy cases in this Court (collectively, the “Debtors”) are, collectively, a privately held
company that is the industry leader in recovering and processing post-consumer and post-industrial
glass in North America. The Debtors do not believe they own or possess any real or personal
property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety. The Debtors note that they are not aware of any definition of “imminent and identifiable”
harm as used in this form.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS

  In re:                                                 §        Case No. 23-[____]
                                                         §
  SMI GROUP ACQUISITIONS, INC.                           §        (Chapter 11)
                                                         §
           Debtor.                                       §        (Joint Administration Requested)
                                                         §        (Emergency Hearing Requested)


       CORPORATE OWNERSHIP STATEMENT (RULES 1007(a)(1) AND 7007.1)

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, the following are corporations,
other than the debtor or a governmental unit, that directly own 10% or more of any class of the corporation’s
equity interests:

Corporate Equity Holder(s)            Address of Corporate Equity Holder(s)                 Percentage of
                                                                                            Equity Held

 SMI Group Holdings, LLC                   17220 Katy Freeway, Suite 150                         100%
                                              Houston, Texas, 77094
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

  In re:                                               §       Case No. 23-[____]
                                                       §
  SMI GROUP ACQUISITIONS, INC.                         §       (Chapter 11)
                                                       §
           Debtor.                                     §       (Joint Administration Requested)
                                                       §       (Emergency Hearing Requested)


               LIST OF EQUITY SECURITY HOLDERS (RULE 1007(A)(3))

Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following identifies all
known holders having a direct or indirect ownership interest of the above captioned debtor in possession:

Corporate Equity Holder(s)          Address of Corporate Equity Holder(s)                Percentage of
                                                                                         Equity Held

 SMI Group Holdings, LLC                  17220 Katy Freeway, Suite 150                      100%
                                             Houston, Texas, 77094
                                                       Case 23-90911 Document 1 Filed in TXSB on 12/04/23 Page 10 of 28



      Fill in this information to identify the case:
      Debtor name Strategic Materials, Inc., et al,
      United States Bankruptcy Court for the: The District of Houston
                                                                                                                                                                                               "
      Case number (If known): ______________                                                                                                                                                        Check if this is an amended
                                                                                                                                                                                                   filing


      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
      Unsecured Claims and Are Not Insiders
      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
      101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

      Name of creditor and complete mailing address, including zip code        Name, telePhone number, and Email address of creditor Nature of the claim (for               Indicate if claim is   Amount of unsecured claim
                                                                               contact                                               example, trade debts,                 contingent,             if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                     bank loans, professional              unliquidated, or        If claim is partially secured, fill in total claim amount and
                                                                                                                                     services, and government              disputed                deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                     contracts)                                                    claim.
                                                                                                                                                                                                   Total claim, if        Deduction for value Unsecured claim
                                                                                                                                                                                                   partially secured      of collateral or setoff


                                                                               Attn: Katie Farmer
      BNSF Railway Company
                                                                               Title: President and Chief Executive Officer
 1 2650 Lou Menk Drive                                                                                                                              Trade Payable                                                                                 $           1,104,727
                                                                               Phone: 800‐795‐2673
      Fort Worth, TX 76131
                                                                               Email: katie.farmer@bnsf.com


      Waste Management, Inc.                                                   Attn: James Fish Jr.
      800 Capitol                                                              Title: President and Chief Executive Officer
 2                                                                                                                                                  Trade Payable                                                                                  $           948,935
      Suite 3000                                                               Phone: (713) 512‐6200
      Houston, TX 77002                                                        Email: jfish@wm.com



                                                                               Attn: Bradley Morgan
      HRM Services, Inc.
                                                                               Title: President
 3 2420 Davistown Road                                                                                                                              Trade Payable                                                                                  $           793,369
                                                                               Phone: (919) 868‐2692
      Wendell, NC 27591
                                                                               Email: Hrmservices@protonmail.com


      CSX Transportation                                                       Attn: Joseph R. Hinrichs
      500 Water St                                                             Title: President and Chief Executive Officer
 4                                                                                                                                                  Trade Payable                                                                                  $           787,437
      15th Floor                                                               Phone: 904‐359‐3200
      Jacksonville, FL 32202                                                   Email: joe_hinrichs@csx.com


                                                                               Attn: Stephen Weidner
   Pilkington                                                                  Title: President and Head of Architectural Glass North America
 5 811 Madison Avenue                                                          and Solar Products                                                   Trade Payable                                                                                  $           675,991
   Toledo, OH 43604                                                            Phone: (800) 221‐0444
                                                                               Email: stephen.weidner@nsg.com


      Owens Illinois                                                           Attn: Andres Lopez
      One Michael Owens Way                                                    Title: Chief Executive Officer
 6                                                                                                                                                  Trade Payable                                                                                  $           624,869
      Plaza 2                                                                  Phone: 567‐336‐5000
      Perrysburg, OH 43551                                                     Email: alopez@o‐i.com


                                                                               Attn: John Cole
      Cole Transportation Inc
                                                                               Title: President
 7 1920 Duck Slough Blvd.                                                                                                                           Trade Payable                                                                                  $           565,721
                                                                               Phone: (727) 240‐3363
      New Port Richey, FL 34655
                                                                               Email: john.cole@colepallet.com


                                                                               Attn: Todd Smith
      Smith Transport
                                                                               Title: President
 8 153 Smith Transport Rd                                                                                                                           Trade Payable                                                                                  $           505,435
                                                                               Phone: 800‐877‐1173
      Roaring Spring, PA 16673
                                                                               Email: tsmith@i65transport.com


                                                                               Attn: Scott Huntsman
      S C Huntsman Trucking, LLC
                                                                               Title: Owner
 9 4755 St Rt 309                                                                                                                                   Trade Payable                                                                                  $           497,640
                                                                               Phone: (419) 462‐5223
      Galion, OH 44833
                                                                               Email: huntsmantrucking@yahoo.com

      Union Pacific Railroad                                                   Attn: Jim Vena
      1400 Douglas St.                                                         Title: Chief Executive Officer
 10                                                                                                                                                 Trade Payable                                                                                  $           443,621
      19th Floor                                                               Phone: 402‐544‐5000
      Omaha, NE 68197                                                          Email: jvena@up.com


                                                                               Attn: Noemi Gil‐Rogers
      J. Gil Trucking
                                                                               Title: Office Manager
 11 10135 Fm 1462                                                                                                                                   Trade Payable                                                                                  $           365,217
                                                                               Phone: 281‐331‐2887
      Alvin, TX 77511
                                                                               Email: jgiltrucking@outlook.com


      US Transportation Services, Inc.
                                                                               Attn: Chief Executive Officer
      1511 US Highway 1
 12                                                                            Phone: (772) 664‐7770                                                Trade Payable                                                                                  $           357,479
      Suite 101
                                                                               Email: ericab@us‐transportation.net
      Sebastian, FL 32958




Official Form 204                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 1
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Debtor Strategic Materials, Inc., et al.,_________________________                                                                                                                                Case number (if known)_____________________________________




      Name of creditor and complete mailing address, including zip code   Name, telePhone number, and Email address of creditor Nature of the claim (for               Indicate if claim is   Amount of unsecured claim
                                                                          contact                                               example, trade debts,                 contingent,             if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                bank loans, professional              unliquidated, or        If claim is partially secured, fill in total claim amount and
                                                                                                                                services, and government              disputed                deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                contracts)                                                    claim.
                                                                                                                                                                                              Total claim, if        Deduction for value Unsecured claim
                                                                                                                                                                                              partially secured      of collateral or setoff


      Ardagh Glass, Inc.                                                  Attn: Michael Dick
      10194 Crosspoint Blvd.                                              Title: Chief Executive Officer
 13                                                                                                                                            Trade Payable                                                                                  $           341,784
      Suite 410                                                           Phone: (317) 558‐1002
      Indianapolis, IN 46256                                              Email: mike.dick@ardaghgroup.com


                                                                          Attn: Jon Dale
      RADO Mechanical Group LLC
                                                                          Title: Co‐Owner
 14 341 Gees Mill Business Pkwy NE                                                                                                             Trade Payable                                                                                  $           311,254
                                                                          Phone: 770‐602‐3194
      Conyers, GA 30013
                                                                          Email: info@radomechanicalgroup.com

                                                                          Attn: David Zacharias
      United Concrete and Gravel, Ltd.
                                                                          Title: Owner
 15 1279 Sword Rd.                                                                                                                             Trade Payable                                                                                  $           295,734
                                                                          Phone: 250‐992‐7281
      Quesnel, BC V2J 3J4
                                                                          Email: quesneloffice@unitedconcrete.ca


                                                                          Attn: Clyde King
      C. Ray Trucking, Inc.
                                                                          Title: President
 16 15695 Salt Creek Road                                                                                                                      Trade Payable                                                                                  $           265,106
                                                                          Phone: (503) 838‐6635
      Dallas, OR 97338
                                                                          Email: clyde@c‐raytrucking.com


                                                                          Attn: Jesse Ball
      Star Line Trucking Corp.
                                                                          Title: President and Chief Executive Officer
 17 18480 W. Lincoln Ave                                                                                                                       Trade Payable                                                                                  $           261,311
                                                                          Phone: 262‐786‐8280
      New Berlin, WI 53146
                                                                          Email: jball@starlinetrucking.com



      Tzeng Long USA, Inc.                                                Attn: Justine Chang
 18 2801 South Vail Avenue                                                Phone: (323) 722‐5353                                                Trade Payable                                                                                  $           259,041
      Commerce, CA 90040                                                  Email: Justine@tzenglong.com



                                                                          Attn: LT Galimba
      B A Roberts, Inc.
                                                                          Title: President & Operations Manager
 19 1817 W County Line Rd.                                                                                                                     Trade Payable                                                                                  $           252,804
                                                                          Phone: (863) 452‐6100
      Avon Park, FL 33825
                                                                          Email: tgalimba@barobertsinc.com


                                                                          Attn: Tammy Knutson
      Fairview Trucking
                                                                          Title: Chief Financial Officer
 20 1801 S. Bluff Road                                                                                                                         Trade Payable                                                                                  $           246,101
                                                                          Phone: 626‐357‐2177
      Montebello, CA 90640
                                                                          Email: tknutson@westcoastfairview.com

                                                                          Attn: Terry Tarditi
      T and T Trucking, Inc.
                                                                          Title: Owner
 21 11396 North Highway 99                                                                                                                     Trade Payable                                                                                  $           244,391
                                                                          Phone: (209) 931‐6000
      Lodi, CA 95240
                                                                          Email: jarbuckle@tttrucking.com


                                                                          Attn: Randall Young
      Industrial Kiln and Dryer
                                                                          Title: President
 22 12711 Townepark Way                                                                                                                        Trade Payable                                                                                  $           218,242
                                                                          Phone: (877) 316‐6140
      Louisville, KY 40253
                                                                          Email: contact@industrialkiln.com



      Kerr Farms LLC                                                      Attn: Chief Executive Officer
 23 10849 Coletown Lightsville Rd                                         Phone: 812‐369‐1368                                                  Trade Payable                                                                                  $           215,065
      Ansonia, OH 45303                                                   Email: Kerrfarmsllc@gmail.com



      Boxell Trucking, Inc.                                               Attn: Joey Boxell
 24 524 West Mulberry St.                                                 Title: President                                                     Trade Payable                                                                                  $           210,657
      Princeton, IN 47670                                                 Phone: (812) 385‐2752


                                                                          Attn: Gene Kiesel
      Parallel Products
                                                                          Title: President and Chief Executive Officer
 25 401 Industry Rd.                                                                                                                           Trade Payable                                                                                  $           208,375
                                                                          Phone: 800‐883‐9100
      Louisville, KY 40208
                                                                          Email: gkiesel@parallelproducts.com

                                                                          Attn: Shkelzen Hasani
      Brigade Site Services LLC
                                                                          Title: Owner
 26 6735 Silvercrest Dr.                                                                                                                       Trade Payable                                                                                  $           207,997
                                                                          Phone: (817) 584‐4848
      Arlington, TX 76002
                                                                          Email: Poppy@brigadesiteservices.com


                                                                          Attn: Jason Young
      Allan Company
                                                                          Title: Chief Executive Officer
 27 540 W Chevy Chase Dr                                                                                                                       Trade Payable                                                                                  $           202,764
                                                                          Phone: (626) 962‐4047
      Los Angeles, CA 90051‐5633
                                                                          Email: jyoung@allancompany.com


                                                                          Attn: Randall Breaux
      Motion Industries, Inc.
                                                                          Title: President
 28 File 749376                                                                                                                                Trade Payable                                                                                  $           194,515
                                                                          Phone: 800‐526‐9328
      Los Angeles, CA 90074‐9376
                                                                          Email: randy_breaux@genpt.com




Official Form 204                                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 2
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Debtor Strategic Materials, Inc., et al.,_________________________                                                                                                                              Case number (if known)_____________________________________




     Name of creditor and complete mailing address, including zip code   Name, telePhone number, and Email address of creditor Nature of the claim (for              Indicate if claim is   Amount of unsecured claim
                                                                         contact                                               example, trade debts,                contingent,             if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                               bank loans, professional             unliquidated, or        If claim is partially secured, fill in total claim amount and
                                                                                                                               services, and government             disputed                deduction for value of collateral or setoff to calculate unsecured
                                                                                                                               contracts)                                                   claim.
                                                                                                                                                                                            Total claim, if        Deduction for value Unsecured claim
                                                                                                                                                                                            partially secured      of collateral or setoff


                                                                         Attn: Bobby Holcomb
     Nationwide Express
                                                                         Title: Vice President of Business Development
 29 1211 E Lane St.                                                                                                                          Trade Payable                                                                                  $           188,383
                                                                         Phone: 800‐456‐1553
     Shelbyville, TN 37160
                                                                         Email: bholcomb@nationwide‐express.com


                                                                         Attn: Linda Kopetsky
     Go‐Ko, Inc.
                                                                         Title: Owner
 30 1644 West Edgewood Ave. Ste D                                                                                                            Trade Payable                                                                                  $           182,177
                                                                         Phone: 317‐787‐4285
     Indianapolis, IN 46217
                                                                         Email: admin@gokoinc.com




Official Form 204                                                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 3
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                 OMNIBUS JOINT UNANIMOUS WRITTEN CONSENT OF
  THE BOARDS OF DIRECTORS AND THE SOLE MANAGER OR SOLE MEMBER
                                                  OF
                          SMI GROUP ACQUISITIONS, INC.,
                      STRATEGIC MATERIALS HOLDING CORP.,
                           STRATEGIC MATERIALS, INC.,
                               SMI EQUIPMENT, INC.,
                         AMERICAN SPECIALTY GLASS, INC.,
                                 NEXCYCLE, INC.,
                   SMI REFLECTIVE RECYCLING NE HOLDCO, LLC,
                     SMI REFLECTIVE INDUSTRIES HOLDCO, LLC,
                     SMI REFLECTIVE RECYCLING HOLDCO, LLC,
                            SMI BEVCON HOLDCO, LLC,
                            SMI NUTMEG HOLDCO, LLC,
                    CONTAINER RECYCLING ALLIANCE, LLC, AND
                                RIPPLE GLASS, LLC
                                          December 3, 2023


        The undersigned, being (a) all of the members of the board of directors of each of SMI Group
Acquisitions, Inc., a Delaware corporation (“Holdings”), Strategic Materials Holding Corp., a Delaware
corporation (“Borrower”), Strategic Materials, Inc., a Delaware corporation (“SMI”), SMI Equipment, Inc.,
a Delaware corporation (“SMIE”), American Specialty Glass, Inc., a Delaware corporation (“ASG”), and
NexCycle, Inc., a Delaware corporation (“NexCycle”), (b) the sole manager of each of SMI Reflective
Recycling NE HoldCo, LLC, a Delaware limited liability company (“SMIRR”), SMI Reflective Industries
HoldCo, LLC, a Delaware limited liability company (“SMIRI”), SMI Reflective Recycling HoldCo, LLC,
a Delaware limited liability company (“SMIRH”), SMI Bevcon HoldCo, LLC, a Delaware limited liability
company (“SMIB”), SMI Nutmeg HoldCo, LLC, a Delaware limited liability company (“SMIN”), and
Container Recycling Alliance, LLC, a Delaware limited liability company (“CRA”), and (c) the sole
member of Ripple Glass, LLC, a Delaware limited liability company (“Ripple”, and together with Holdings,
Borrower, SMI, SMIE, ASG, NexCycle, SMIRR, SMIRI, SMIRH, SMIB, SMIN and CRA, the
“Companies” and each, a “Company” and collectively, the “Consenting Parties”) (each such director,
manager or member of the Companies, as applicable, a “Consenting Party”), in lieu of a meeting of the
undersigned and acting pursuant to Section 141(f) of the Delaware General Corporation Law or Section 18-
404(d) of the Delaware Limited Liability Company Act, as applicable, do hereby consent to and adopt the
following resolutions:

        WHEREAS, the Consenting Parties have considered the financial condition of each applicable
Company, including such Company’s liabilities and liquidity, the short-term and long-term prospects
available to such Company, the strategic alternatives available to such Company, and the related
circumstances and situation;

        WHEREAS, each Consenting Party has consulted with the Companies’ financial and legal
advisors and considered strategic alternatives available to each applicable Company;

        WHEREAS, each Company has been engaged in discussions with an ad hoc group of lenders (the
“First Lien Lender Group”) under that certain First Lien Credit Agreement, dated as of November 1, 2017,



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among Borrower, Holdings, the lenders from time to time party thereto, and Acquiom Agency Services
LLC and Seaport Loan Products LLC, in their respective capacities as co-administrative agent
(the “Agents”) (as successor to Goldman Sachs Bank USA) (as amended, amended and restated, modified,
or supplemented from time to time, the “First Lien Credit Agreement”) and that certain Second Lien Credit
Agreement, dated as of November 1, 2017, among Borrower, Holdings, the lenders from time to time party
thereto, and the Agents (as amended, amended and restated, modified, or supplemented from time to time,
the “Second Lien Credit Agreement”);

         WHEREAS, each Company is party to that certain Restructuring Support Agreement (the
“Restructuring Support Agreement”), dated as of September 15, 2023, among (a) each Company,
(b) certain holders of, or nominees, investment advisors, sub-advisors, or managers of funds or accounts that
hold claims under (i) the First Lien Credit Agreement, (ii) the Second Lien Credit Agreement, (iii) that
certain 1.5 Lien Credit Agreement, dated as of September 22, 2022, among Borrower, Holdings, the lenders
from time to time party thereto, and Alter Domus (US) LLC, as administrative agent (as amended, amended
and restated, modified, or supplemented from time to time, the “1.5 Lien Credit Agreement”), (iv) that
certain Superpriority Secured Credit Agreement, dated as of September 15, 2023, among Borrower,
Holdings, the lenders from time to time party thereto, and the Agents (as amended, amended and restated,
modified, or supplemented from time to time, the “Superpriority Credit Agreement,” and collectively with
the First Lien Credit Agreement, 1.5 Lien Credit Agreement, and Second Lien Credit Agreement, the
“Prepetition Credit Agreements”); and (c) SMI Group Holdings, LLC (collectively with the parties
identified in clause (b) hereof, the “Secured Parties”);

          WHEREAS, pursuant to the Restructuring Support Agreement, the Companies agreed to (a) market
for sale all of the Companies’ assets and property and consider bids for all or substantially all of the Companies’
assets and property to a qualified bidder and/or (b) pursue a prepackaged chapter 11 plan (the “Plan”) under
Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) to implement either (i) a sale resulting
from sale process described in clause (a) above or (ii) an equitization transaction;

        WHEREAS, in connection with the Restructuring Support Agreement, the Companies entered into
the Superpriority Credit Agreement to provide the Companies with, among other things, sufficient liquidity
and runway to implement the transactions contemplated in the Restructuring Support Agreement;

       WHEREAS, each Company, with the assistance of their advisors, conducted an extensive
marketing process for the potential sale of the Companies and/or their respective assets consistent with the
procedures set forth in the Restructuring Support Agreement (the “Sale Process”);

         WHEREAS, in accordance with the Restructuring Support Agreement, the Companies prepared a
solicitation package including a Disclosure Statement for the Plan (including all schedules and exhibits
thereto, the “Disclosure Statement,” and together with the Plan, the “Chapter 11 Documents”) and related
ballots, notices, and other materials distributed to the holders of certain claims against the Companies in
connection with soliciting their votes to accept or reject the Plan in accordance with section 1125 of the
Bankruptcy Code and any applicable non-bankruptcy laws and within the meaning of section 1126 of the
Bankruptcy Code (the “Solicitation”);

         WHEREAS, pursuant to the milestones set forth in the Restructuring Term Sheet, as extended by
the First Lien Lender Group, the Companies commenced solicitation of the Plan on November 15, 2023;

        WHEREAS, the Consenting Parties have reviewed the Plan and the Restructuring Support
Agreement, which, absent a qualifying sale transaction from the Sale Process, provide that the Companies
will implement a transaction pursuant to the equitization provisions of the Plan;



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        WHEREAS, certain of the Secured Parties have agreed to provide post-petition financing to
Borrower under a debtor-in-possession credit agreement, on the terms and subject to the conditions set forth
in a Superpriority Secured Debtor-in-Possession Credit Agreement (the “DIP Credit Agreement”), to be
entered into by Borrower, Holdings, the lenders party thereto (collectively, the “DIP Lenders,” and each,
a “DIP Lender”) and Acquiom and Seaport, as co-administrative agents (collectively, the “DIP Agents”),
pursuant to which (a) the DIP Lenders will provide to the Borrower a $[23,000,000] senior secured,
superpriority debtor-in-possession new money term loan facility and (b) the outstanding principal and
accrued and unpaid interest under the Superpriority Credit Agreement will be “rolled up” into a senior
secured, superpriority debtor-in-possession roll-up loan facility (collectively, the “DIP Facilities”);

         WHEREAS, the Companies will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”), which
is security for the obligations owed to the Secured Parties by the Companies;

        WHEREAS, the Companies will obtain benefits from the incurrence of the loans and other
financial accommodations under the DIP Credit Agreement and the occurrence and consummation of the
financing transactions under the DIP Credit Agreement, together with any other agreements or
documentation relating thereto (collectively, the “DIP Loan Documents”), which are necessary and
appropriate to the conduct, promotion, and attainment of the business of the Companies;

        WHEREAS, the Consenting Parties have determined that it is advisable and in the best interests
of each applicable Company to (a) pursue the Plan under Chapter 11 the Bankruptcy Code consistent with
the Restructuring Support Agreement and (b) execute, deliver, and file or cause to be filed with the United
States Bankruptcy Court for the Southern District of Texas, Houston Division (the “U.S. Bankruptcy
Court”), any and all documents necessary or convenient to effect, cause or promote the restructuring of the
Companies under the Bankruptcy Code pursuant to the Plan and in accordance with the Restructuring
Support Agreement;

        WHEREAS, the Consenting Parties desire for each applicable Company to file or cause to be filed
voluntary petitions for relief pursuant to the Bankruptcy Code with the U.S. Bankruptcy Court and are
approving such filings contemporaneously with the adoption of these resolutions; and

         WHEREAS, after review of (i) the financial condition of each applicable Company, the short-term
and long-term prospects available to each applicable Company, the strategic alternatives available to each
applicable Company, and the related circumstances and situation, (ii) the terms of the Restructuring Support
Agreement, the Plan, and related documentation, (iii) the availability of the DIP Facilities and consensual
use of the Cash Collateral and (iv) such other considerations as each Consenting Party deems relevant, each
Consenting Party, following consultation with the financial and legal advisors to the Companies, have
determined that it is advisable and in the best interests of each applicable Company to pursue the transaction
contemplated in the Restructuring Support Agreement via the Plan and other Chapter 11 Documents, as
approved in these resolutions.

Chapter 11 Filing

        NOW, THEREFORE, BE IT RESOLVED, that the Consenting Parties hereby determine that it
is advisable and in the best interest of each Company, as applicable, to file voluntary petitions for relief
pursuant to Chapter 11 of the Bankruptcy Code with the U.S. Bankruptcy Court (the “Petitions”), consistent
with the resolutions set forth herein;

         FURTHER RESOLVED, that the officers of the relevant Companies (each, an “Authorized Officer”),
acting alone or with one or more other Authorized Officers, are hereby authorized and empowered to take such


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actions and negotiate or cause to be prepared and negotiated and to execute and file the Petitions to commence
the Chapter 11 cases, and incur and pay or cause to be paid all fees and expenses and engage such persons, in
each case, as any such Authorized Officer shall in his or her judgment determine to be necessary or appropriate
to consummate the restructuring transactions, which determination shall be conclusively evidenced by such
Authorized Officer’s execution or delivery thereof;

        FURTHER RESOLVED, that each Company is hereby authorized to file or cause to be filed the
Petitions with the U.S. Bankruptcy Court;

        FURTHER RESOLVED, that each Authorized Officer, acting alone or with one or more other
Authorized Officers, is hereby authorized and empowered to execute, deliver, and file or cause to be filed
with the U.S. Bankruptcy Court on behalf of each Company, as applicable, the Petitions, in such form as
prescribed by the Official Forms promulgated pursuant to the Bankruptcy Code;

         FURTHER RESOLVED, that, upon the filing of the Petitions as authorized by the preceding
resolution, each Authorized Officer, acting alone or with one or more other Authorized Officers, is hereby
authorized and empowered to execute, deliver, and file or cause to be filed with the U.S. Bankruptcy Court,
on behalf of each Company, as applicable, all papers, motions, applications, schedules, and pleadings
necessary, appropriate, or convenient to facilitate the Chapter 11 cases pursuant to the Bankruptcy Code
(the “Chapter 11 Cases”) and all of its matters and proceedings, and any and all other documents necessary,
appropriate, or convenient in connection with the commencement or prosecution of the Chapter 11 Cases,
each in such form or forms as the Authorized Officer may approve;

        FURTHER RESOLVED, that each Authorized Officer be, and each of them hereby is, authorized
and empowered to execute, deliver and file or cause to be filed with the U.S. Bankruptcy Court, on behalf
of each Company, as applicable, all papers and pleadings that such Authorized Officer believes to be
necessary or desirable to effect, cause or further the restructuring of each Company, as applicable, under
Chapter 11 the Bankruptcy Code and any and all other documents necessary to effectuate the Plan, including
the Disclosure Statement and any documents related thereto, together with any amendments or
modifications thereto, or any restatements thereof, in each case, as the Authorized Officer may approve;

Debtor-in-Possession Financing; Cash Collateral; Adequate Protection

         FURTHER RESOLVED, that the Consenting Parties hereby authorize and approve, in all respects,
the entry of the Companies, as applicable, into the DIP Credit Agreement and the DIP Loan Documents, and the
performance of its obligations thereunder;

         FURTHER RESOLVED, that each Authorized Officer, acting alone or with one or more other
Authorized Officers, is hereby authorized and empowered to take such actions and negotiate or cause to be
prepared and negotiated and to execute, file, and deliver the DIP Loan Documents, with such changes, additions,
and modifications thereto as the Authorized Officer executing the same shall approve, such approval to be
conclusively evidenced by such Authorized Officer’s execution or delivery thereof, cause, as applicable, each
Company to perform its obligations under the DIP Loan Documents, or any amendments or modifications
thereto that may be contemplated by, or required in connection with the Chapter 11 Cases, and incur and pay or
cause to be paid all fees and expenses and engage such persons, in each case, as any such Authorized Officer
shall in his or her judgment determine to be necessary or appropriate to consummate the restructuring
transactions contemplated in the Plan, which determination shall be conclusively evidenced by such Authorized
Officer’s execution or delivery thereof;

         FURTHER RESOLVED, that each Company shall be, and hereby is, authorized to: (i) undertake any
and all transactions contemplated by the DIP Loan Documents, on substantially the terms and subject to the


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conditions set forth in the DIP Loan Documents or as may hereafter be fixed or authorized by the applicable
Consenting Party or any of the applicable Authorized Officers, acting alone or with one or more other Authorized
Officers; (ii) borrow funds from the DIP Lenders in accordance with the DIP Loan Documents; (iii) grant a
security interest and continuing lien on substantially all of its assets to secure the obligations under the DIP Loan
Documents; (iv) in the case of Companies other than the Borrower, guarantee the Borrower’s obligations under
the DIP Credit Agreement and the other DIP Loan Documents (clauses (i) through (iv) collectively,
the “Financing Transactions”); (v) execute and deliver and cause each Company to incur and perform its
obligations under the DIP Loan Documents and Financing Transactions; (vi) finalize the DIP Loan Documents
and Financing Transactions, consistent in all material respects with the drafts thereof that have been presented
to the applicable Consenting Parties or as may hereafter be fixed or authorized by the applicable Consenting
Party or any of the applicable Authorized Officers, acting alone or with one or more other Authorized Officers;
and (vii) pay related fees and grant security interests in and liens upon some, any or all of the assets of each
Company, as may be deemed necessary by any Authorized Officer in connection with such Financing
Transactions;

         FURTHER RESOLVED, that each Authorized Officer, acting alone or with one or more other
Authorized Officers be, and hereby is, authorized and empowered in the name of, and on behalf of, each
Company, as applicable, as a debtor and debtor in possession, to take such actions and negotiate or cause to be
prepared and negotiated and to execute, file, deliver and cause each Company, as applicable, to incur and perform
its obligations under the DIP Loan Documents, any secured cash management agreements, and all other
agreements, instruments and documents (including, without limitation, any and all other joinders, mortgages,
deeds of trust, consents, notes, pledge agreements, security agreements, control agreements and any agreements
with any entity (including governmental authorities) requiring or receiving cash collateral or other credit support
with proceeds from the DIP Credit Agreement) or any amendments thereto or waivers thereunder (including,
without limitation, any amendments, waivers or other modifications of any of the DIP Loan Documents) that
may be contemplated by, or required in connection with, the DIP Credit Agreement, the other DIP Loan
Documents and the Financing Transactions, and incur and pay or cause to be paid all fees and expenses and
engage such persons, in each case, as such Authorized Officer shall in his or her judgment determine to be
necessary or appropriate to consummate the transactions contemplated by the DIP Credit Agreement and the
other DIP Loan Documents, which determination shall be conclusively evidenced by such Authorized Officer’s
execution or delivery thereof;

         FURTHER RESOLVED, that each Authorized Officer be, and each of them hereby is, authorized and
empowered to authorize the DIP Lenders or the DIP Agents, on behalf of the DIP Lenders, to file any Uniform
Commercial Code (“UCC”) financing statements, mortgages, notices, and any necessary assignments for
security or other documents in the name of any of the Companies that the DIP Lenders deem necessary or
appropriate to perfect any lien or security interest granted under the DIP Loan Documents, including any such
UCC financing statement containing a generic description of collateral, such as “all assets,” “all property now
or hereafter acquired,” and other similar descriptions of like import, and to execute and deliver, and to record or
authorize the recording of, such mortgages and deeds of trust in respect of real property of the Companies and
such other filings in respect of intellectual and other property of the Companies, in each case as the DIP Lenders
may reasonably request to perfect the security interests granted under the DIP Loan Documents;

         FURTHER RESOLVED, that each Authorized Officer be, and hereby is, authorized and empowered
to execute and deliver any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions and extensions of the DIP Credit Agreement or any of the other DIP Loan Documents or any of
the other DIP financing documents, and to execute and file on behalf of each Company, as applicable, all
petitions, schedules, lists and other motions, papers or documents, which shall in his or her sole judgment be
necessary, proper or advisable, which determination shall be conclusively evidenced by such Authorized
Officer’s execution or delivery thereof;


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         FURTHER RESOLVED, that in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, each Company is authorized to provide certain adequate
protection to the Secured Parties (the “Adequate Protection Obligations”), as documented in a proposed interim
order (any such order, the “Interim DIP Order”) and a proposed final order (any such order, the “Final DIP
Order,” and together with the Interim DIP Order, the “DIP Orders”) described to the applicable Consenting
Parties and submitted for approval to the U.S. Bankruptcy Court;

         FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which each
Company is or will be subject, and the actions and transactions contemplated thereby be, and hereby are
authorized, adopted, and approved, and each of the Authorized Officers be, and hereby is, authorized and
empowered, in the name of and on behalf of each Company, as applicable, to take such actions and negotiate,
or cause to be prepared and negotiated, and to execute, deliver, perform, and cause the performance of, the DIP
Orders and the DIP Loan Documents (together with the DIP Orders, collectively, the “DIP Documents”), and
incur and pay or cause to be paid all fees and expenses and engage such persons, in each case, on substantially
the terms and subject to the conditions described to the applicable Consenting Parties, with such changes,
additions, and modifications thereto as the Authorized Officers executing the same shall approve, such approval
to be conclusively evidenced by such Authorized Officer’s execution or delivery thereof;

         FURTHER RESOLVED, that each Company, as a debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations and to undertake
any and all related transactions on substantially the same terms as contemplated under the DIP Documents
(collectively, the “Adequate Protection Transactions”);

         FURTHER RESOLVED, that the Authorized Officers be, and they hereby are, authorized and
empowered, and each of them acting alone be, and hereby is, authorized and empowered in the name of,
and on behalf of, each Company, as applicable, to take such actions as in their discretion is determined to
be necessary, appropriate, or advisable and execute the Adequate Protection Transactions, including
delivery of: (i) the DIP Documents and such agreements, certificates, instruments, guaranties, notices, and
any and all other documents, including, without limitation, any amendments to any DIP Documents
(collectively, the “Adequate Protection Documents”); (ii) such other instruments, certificates, notices,
assignments, and documents as may be reasonably requested by the Secured Parties; and (iii) such forms
of deposit, account control agreements, officer’s certificates, and compliance certificates as may be required
by the DIP Documents or any other Adequate Protection Documents;

          FURTHER RESOLVED, that each Authorized Officer be, and hereby is, authorized and empowered
in the name of, and on behalf of, each Company, as applicable, to take all such further actions, including, without
limitation, to pay or approve the payment of all fees and expenses payable in connection with the Adequate
Protection Transactions and all fees and expenses incurred by or on behalf of each Company, as applicable, in
connection with these resolutions, in accordance with the terms of the Adequate Protection Documents, which
shall in their sole judgment be necessary, appropriate, or advisable to perform any obligations of each Company,
as applicable, under or in connection with the DIP Orders or any of the other Adequate Protection Documents
and the transactions contemplated thereby and to carry out fully the intent of these resolutions;

Retention of Professionals

         FURTHER RESOLVED, that each Consenting Party hereby approves each applicable
Company’s engagement of Vinson & Elkins L.L.P. (“V&E”) and Wachtell Lipton Rosen & Katz
(“Wachtell,” and together with V&E, “Restructuring Counsel”) as bankruptcy counsel to represent and
assist the Companies, as applicable, in carrying out its duties under the Bankruptcy Code in the U.S.
Bankruptcy Court, and to take any and all actions to advance each Company’s rights and obligations, as
applicable, including filings and pleadings, and each Authorized Officer is hereby authorized and

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empowered to take such actions as may be required to so engage Restructuring Counsel for such purposes;
and in connection therewith, each Authorized Officer, with power of delegation, is hereby authorized and
empowered to execute appropriate retention agreements, pay appropriate retainers to, and cause to be filed
an appropriate application for authority to retain the services of Restructuring Counsel;

         FURTHER RESOLVED, that each Consenting Party hereby approves each applicable
Company’s engagement of Moelis & Company (“Moelis”) as investment banker to represent and assist the
Companies in carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court, and to take
any and all actions to advance each Company’s rights and obligations, as applicable, and each Authorized
Officer is hereby authorized and empowered to take such actions as may be required to so engage Moelis
for such purposes; and in connection therewith, each Authorized Officer, with power of delegation, is
hereby authorized and empowered to execute appropriate retention agreements, pay appropriate retainers
to, and cause to be filed an appropriate application for authority to retain the services of Moelis;

         FURTHER RESOLVED, that each Consenting Party hereby approves each applicable
Company’s engagement of Alvarez & Marsal, LLC (“A&M”) to represent and assist the Companies in
carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court, and to take any and all
actions to advance each Company’s rights and obligations, as applicable, and each Authorized Officer
(other than Scott Pinsonnault) is hereby authorized and empowered to take such actions as may be required
to so engage A&M for such purposes; and in connection therewith, each Authorized Officer, with power
of delegation, is hereby authorized and empowered to execute appropriate retention agreements, pay
appropriate retainers to, and cause to be filed an appropriate application for authority to retain the services
of A&M;

         FURTHER RESOLVED, that each Consenting Party hereby approves each applicable
Company’s engagement of Kroll Restructuring Administration LLC (“Kroll”) as notice, claims and
solicitation agent to represent and assist the Companies in carrying out its duties under the Bankruptcy
Code in the U.S. Bankruptcy Court, and to take any and all actions to advance each Company’s rights and
obligations, as applicable, is hereby approved, and each Authorized Officer is hereby authorized and
empowered to take such actions as may be required to so engage Kroll for such purposes; and in connection
therewith, each Authorized Officer, with power of delegation, is hereby authorized and empowered to
execute appropriate retention agreements, pay appropriate retainers to, and cause to be filed an appropriate
application for authority to retain the services of Kroll;

         FURTHER RESOLVED, that each Consenting Party hereby authorizes and empowers each
Authorized Officer to employ any other professionals to assist each Company, as applicable, in carrying
out its duties under the Bankruptcy Code; and in connection therewith, each Authorized Officer, with power
of delegation, is hereby authorized and empowered to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to retain the
services of any other professionals as necessary;

General

        FURTHER RESOLVED, that each of the Authorized Officers is hereby authorized and
empowered, on behalf of each Company, as applicable, to certify and attest to any documents that he or she
may deem necessary, appropriate, or convenient to consummate any transactions necessary to effectuate
the foregoing resolutions; provided, such attestation shall not be required for the validity of any such
documents; and




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        FURTHER RESOLVED, that all actions heretofore taken by any officer, employee, or
representative of any Company in its name or for its account in connection with any of the above matters
are hereby in all respects ratified, confirmed and approved.

                           [The remainder of this page is intentionally blank.]




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        IN WITNESS WHEREOF, the undersigned have executed this written consent to be effective as
of the date first written above.

                                     THE DIRECTORS OF:

                                     SMI GROUP ACQUISITIONS, INC.
                                     STRATEGIC MATERIALS HOLDING CORP.




                                      Chris Dods




                                      Paul Garris




                                      Steven G. Raich




                                      Brian Michaud




                                      Brian Ramsay




                                      Aaron Pomeroy




                                      Timothy Pohl




                        [Signature Page to the Omnibus Joint Written Consent of
                                SMI GROUP ACQUISITIONS, INC.
                          STRATEGIC MATERIALS HOLDING CORP.]
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        IN WITNESS WHEREOF, the undersigned have executed this written consent to be effective as
of the date first written above.

                                     THE DIRECTORS OF:

                                     SMI GROUP ACQUISITIONS, INC.
                                     STRATEGIC MATERIALS HOLDING CORP.




                                      Chris Dods




                                      Paul Garris




                                      Steven G. Raich




                                      Brian Michaud




                                      Brian Ramsay




                                      Aaron Pomeroy




                                      Timothy Pohl




                        [Signature Page to the Omnibus Joint Written Consent of
                                SMI GROUP ACQUISITIONS, INC.
                          STRATEGIC MATERIALS HOLDING CORP.]
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        IN WITNESS WHEREOF, the undersigned have executed this written consent to be effective as
of the date first written above.

                                     THE DIRECTORS OF:

                                     SMI GROUP ACQUISITIONS, INC.
                                     STRATEGIC MATERIALS HOLDING CORP.




                                      Chris Dods




                                      Paul Garris




                                      Brian Michaud




                                      Brian Ramsay




                                      Aaron Pomeroy




                                      Timothy Pohl




                        [Signature Page to the Omnibus Joint Written Consent of
                                SMI GROUP ACQUISITIONS, INC.
                          STRATEGIC MATERIALS HOLDING CORP.]
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        IN WITNESS WHEREOF, the undersigned have executed this written consent to be effective as
of the date first written above.

                                     THE DIRECTORS OF:

                                     SMI GROUP ACQUISITIONS, INC.
                                     STRATEGIC MATERIALS HOLDING CORP.




                                      Chris Dods




                                      Paul Garris




                                      Steven G. Raich




                                      Brian Michaud




                                      Brian Ramsay




                                      Aaron Pomeroy




                                      Timothy Pohl




                        [Signature Page to the Omnibus Joint Written Consent of
                                SMI GROUP ACQUISITIONS, INC.
                          STRATEGIC MATERIALS HOLDING CORP.]
4889-6991-8589
Case 23-90911 Document 1 Filed in TXSB on 12/04/23 Page 25 of 28



                          THE DIRECTORS OF:

                          STRATEGIC MATERIALS, INC.,
                          SMI EQUIPMENT, INC.,
                          AMERICAN SPECIALTY GLASS, INC., AND
                          NEXCYCLE, INC.



                           Chris Dods




                           Paul Garris




             [Signature Page to the Omnibus Joint Written Consent of
                      STRATEGIC MATERIALS, INC.,
                           SMI EQUIPMENT, INC.,
                AMERICAN SPECIALTY GLASS, INC., AND
                               NEXCYCLE, INC.]
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                          THE DIRECTORS OF:

                          STRATEGIC MATERIALS, INC.,
                          SMI EQUIPMENT, INC.,
                          AMERICAN SPECIALTY GLASS, INC., AND
                          NEXCYCLE, INC.



                           Chris Dods




                           Paul Garris




             [Signature Page to the Omnibus Joint Written Consent of
                      STRATEGIC MATERIALS, INC.,
                           SMI EQUIPMENT, INC.,
                AMERICAN SPECIALTY GLASS, INC., AND
                               NEXCYCLE, INC.]
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                           STRATEGIC MATERIALS, INC., THE SOLE MANAGER
                           OF EACH OF:

                           CONTAINER RECYCLING ALLIANCE, LLC
                           SMI REFLECTIVE RECYCLING NE HOLDCO, LLC,
                           SMI REFLECTIVE INDUSTRIES HOLDCO, LLC,
                           SMI REFLECTIVE RECYCLING HOLDCO, LLC,
                           SMI BEVCON HOLDCO, LLC, AND
                           SMI NUTMEG HOLDCO, LLC



                           By: ___________________________
                           Name: Paul Garris
                           Title: Senior Vice President and Chief Financial Officer



                           STRATEGIC MATERIALS, INC., THE SOLE MEMBER
                           OF:

                           RIPPLE GLASS, LLC



                           By: ___________________________
                           Name: Paul Garris
                           Title: Senior Vice President and Chief Financial Officer




             [Signature Page to the Omnibus Joint Written Consent of
                CONTAINER RECYCLING ALLIANCE, LLC
            SMI REFLECTIVE RECYCLING NE HOLDCO, LLC,
              SMI REFLECTIVE INDUSTRIES HOLDCO, LLC,
              SMI REFLECTIVE RECYCLING HOLDCO, LLC,
                        SMI BEVCON HOLDCO, LLC,
                     SMI NUTMEG HOLDCO, LLC, AND
                            RIPPLE GLASS, LLC]
                      Case 23-90911 Document 1 Filed in TXSB on 12/04/23 Page 28 of 28

 Fill in this information to identify the case and this filing:


              SMI Group Acquisitions, Inc.
 Debtor Name __________________________________________________________________
                                            Southern                            Texas
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                (State)
 Case number (If known):
                             23-[!]
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         # Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         # Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         # Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         # Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         # Schedule H: Codebtors (Official Form 206H)
         # Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         # Amended Schedule ____

         # Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Corporate Ownership Statement; List of Equity Security Holders
         # Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                     12/04/2023
        Executed on ______________                           " /s/ Paul Garris
                                                                _________________________________________________________________________
                           MM / DD / YYYY                        Signature of individual signing on behalf of debtor



                                                                  Paul Garris
                                                                 ________________________________________________________________________
                                                                 Printed name

                                                                 Senior Vice President and Chief Financial Officer
                                                                 ______________________________________
                                                                 Position or relationship to debtor



Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
